MIME−Version:1.0
                                                                                       FILED
From:ganddb_efile_notice@gand.uscourts.gov                                  Nov 09, 2020
                                                                         CLERK, U.S. DISTRICT COURT
To:CourtMail@localhost.localdomain                                     EASTERN DISTRICT OF CALIFORNIA

Bcc:
−−Case Participants: James Wesley Bryant (mallory_piper@fd.org, wes_bryant@fd.org),
Theodore S. Hertzberg (caseview.ecf@usdoj.gov, gaylene.berberick@usdoj.gov,
regina.nesmith@usdoj.gov, theodore.hertzberg@usdoj.gov,
usagan.motionsresponses@usdoj.gov), Magistrate Judge Alan J. Baverman
(ganddb_efile_ajb@gand.uscourts.gov)
−−Non Case Participants:
−−No Notice Sent:

Message−Id:11324566@gand.uscourts.gov
Subject:Activity in Case 1:20−mj−00969−AJB USA v. Uziewe Transmittal of Rule 5(c)(3)
Documents
Content−Type: text/html
                                                                              CAED Case No.
                                           U.S. District Court                2:20-cr-0196 KJM
                                      Northern District of Georgia

Notice of Electronic Filing


The following transaction was entered on 11/9/2020 at 3:23 PM EST and filed on 11/9/2020

Case Name:       USA v. Uziewe
Case Number:     1:20−mj−00969−AJB
Filer:
Document Number: No document attached
Docket Text:
 Transmittal of Rule 5(c)(3) Documents as to Michael Uziewe, sent to USDC ED CA via
InterDistrict Transfer email, with certified copy of Commitment Order and docket sheet. (tcc)


1:20−mj−00969−AJB−1 Notice has been electronically mailed to:

James Wesley Bryant &nbsp &nbsp wes_bryant@fd.org, mallory_piper@fd.org

Theodore S. Hertzberg &nbsp &nbsp theodore.hertzberg@usdoj.gov, CaseView.ECF@usdoj.gov,
gaylene.berberick@usdoj.gov, regina.nesmith@usdoj.gov, USAGAN.MotionsResponses@usdoj.gov

1:20−mj−00969−AJB−1 Notice has been delivered by other means to:




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MIME−Version:1.0
From:ganddb_efile_notice@gand.uscourts.gov
To:CourtMail@localhost.localdomain
Bcc:
−−Case Participants: Theodore S. Hertzberg (caseview.ecf@usdoj.gov,
gaylene.berberick@usdoj.gov, regina.nesmith@usdoj.gov, theodore.hertzberg@usdoj.gov,
usagan.motionsresponses@usdoj.gov), James Wesley Bryant (mallory_piper@fd.org,
wes_bryant@fd.org), Magistrate Judge Alan J. Baverman (ganddb_efile_ajb@gand.uscourts.gov)
−−Non Case Participants:
−−No Notice Sent:

Message−Id:11324025@gand.uscourts.gov
Subject:Activity in Case 1:20−mj−00969−AJB USA v. Uziewe Arrest − Rule 40
Content−Type: text/html

                                           U.S. District Court

                                      Northern District of Georgia

Notice of Electronic Filing


The following transaction was entered on 11/9/2020 at 2:18 PM EST and filed on 11/9/2020

Case Name:       USA v. Uziewe
Case Number:     1:20−mj−00969−AJB
Filer:
Document Number: No document attached
Docket Text:
Arrest (Rule 40) of Michael Uziewe. (tcc)


1:20−mj−00969−AJB−1 Notice has been electronically mailed to:

James Wesley Bryant &nbsp &nbsp wes_bryant@fd.org, mallory_piper@fd.org

Theodore S. Hertzberg &nbsp &nbsp theodore.hertzberg@usdoj.gov, CaseView.ECF@usdoj.gov,
gaylene.berberick@usdoj.gov, regina.nesmith@usdoj.gov, USAGAN.MotionsResponses@usdoj.gov

1:20−mj−00969−AJB−1 Notice has been delivered by other means to:




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      Pursuant to the Due Process Protections Act, see Fed. R. Crim. P. 5(f), the

government is directed to adhere to the disclosure obligations set forth in Brady v.

Maryland, 373 U.S. 83 (1963), and its progeny, and to provide all materials and

information that are arguably favorable to the defendant in compliance with its

obligations under Brady; Giglio v. United States, 405 U.S. 150 (1972); and their

progeny.   Exculpatory material as defined in Brady and Kyles v. Whitley,

514 U.S. 419, 434 (1995), shall be provided sufficiently in advance of trial to allow

a defendant to use it effectively, and exculpatory information is not limited to

information that would constitute admissible evidence.          The failure of the

government to comply with its Brady obligations in a timely manner may result in

serious consequences, including, but not limited to, the suppression or exclusion of

evidence, the dismissal of some or all counts, adverse jury instructions, contempt

proceedings, or other remedies that are just under the circumstances.




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ATTEST: A TRUE COPY
CERTIFIED THIS
        
Date: __________________________

JAMES N. HATTEN, Clerk
     T5SBDJ$MFNFOUT$BNQCFMM
By: ____________________________
         Deputy Clerk




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MIME−Version:1.0
From:ganddb_efile_notice@gand.uscourts.gov
To:CourtMail@localhost.localdomain
Bcc:
−−Case Participants: Theodore S. Hertzberg (caseview.ecf@usdoj.gov,
gaylene.berberick@usdoj.gov, regina.nesmith@usdoj.gov, theodore.hertzberg@usdoj.gov,
usagan.motionsresponses@usdoj.gov), James Wesley Bryant (mallory_piper@fd.org,
wes_bryant@fd.org), Magistrate Judge Alan J. Baverman (ganddb_efile_ajb@gand.uscourts.gov)
−−Non Case Participants: File Clerks (ganddb_file_clerks@gand.uscourts.gov)
−−No Notice Sent:

Message−Id:11324555@gand.uscourts.gov
Subject:Activity in Case 1:20−mj−00969−AJB USA v. Uziewe Termination of Magistrate Case
Content−Type: text/html

                                           U.S. District Court

                                      Northern District of Georgia

Notice of Electronic Filing


The following transaction was entered on 11/9/2020 at 3:20 PM EST and filed on 11/9/2020

Case Name:       USA v. Uziewe
Case Number:     1:20−mj−00969−AJB
Filer:
Document Number: No document attached
Docket Text:
Magistrate Case Closed. Defendant Michael Uziewe terminated. (tcc)


1:20−mj−00969−AJB−1 Notice has been electronically mailed to:

James Wesley Bryant &nbsp &nbsp wes_bryant@fd.org, mallory_piper@fd.org

Theodore S. Hertzberg &nbsp &nbsp theodore.hertzberg@usdoj.gov, CaseView.ECF@usdoj.gov,
gaylene.berberick@usdoj.gov, regina.nesmith@usdoj.gov, USAGAN.MotionsResponses@usdoj.gov

1:20−mj−00969−AJB−1 Notice has been delivered by other means to:




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ATTEST: A TRUE COPY
CERTIFIED THIS

        
Date: __________________________
                                                                                                  CLOSED
JAMES N. HATTEN, Clerk
                                            U.S. District Court
     V7UDFL&OHPHQWV&DPSEHOO
By: ____________________________ Northern District of Georgia (Atlanta)
         Deputy Clerk CRIMINAL DOCKET FOR CASE #: 1:20−mj−00969−AJB−1



          Case title: USA v. Uziewe                                Date Filed: 11/09/2020
          Other court case number: 2:20−cr−0196 KJM USDC ED CA     Date Terminated: 11/09/2020


          Assigned to: Magistrate Judge
          Alan J. Baverman

          Defendant (1)
          Michael Uziewe                     represented by James Wesley Bryant
          TERMINATED: 11/09/2020                            Federal Defender Program Inc.−Atl
                                                            Suite 1500, Centennial Tower
                                                            101 Marietta Street, NW
                                                            Atlanta, GA 30303
                                                            404−688−7530
                                                            Email: wes_bryant@fd.org
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED
                                                            Designation: Public Defender or Community
                                                            Defender Appointment

          Pending Counts                                   Disposition
          None

          Highest Offense Level (Opening)
          None

          Terminated Counts                                Disposition
          None

          Highest Offense Level
          (Terminated)
          None

          Complaints                                       Disposition
          18:1344(2) − BANK FRAUD; and
          18:982(a)(2)(A) − CRIMINAL
          FORFEITURE




                                                                                                           1
Plaintiff
USA                                          represented by Theodore S. Hertzberg
                                                            Office of the United States
                                                            Attorney−ATL600
                                                            Northern District of Georgia
                                                            600 United States Courthouse
                                                            75 Ted Turner Dr., S.W.
                                                            Atlanta, GA 30303
                                                            404−581−6000
                                                            Email: theodore.hertzberg@usdoj.gov
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED
                                                            Designation: Retained

 Date Filed   # Page Docket Text
 11/09/2020           Arrest (Rule 40) of Michael Uziewe. (tcc) (Entered: 11/09/2020)
 11/09/2020   1       ORDER APPOINTING FEDERAL PUBLIC DEFENDER James Wesley Bryant
                      for Michael Uziewe. Signed by Magistrate Judge Alan J. Baverman on
                      11/9/2020. (tcc) (Entered: 11/09/2020)
 11/09/2020   2       Minute Entry for proceedings held before Magistrate Judge Alan J. Baverman:
                      Initial Appearance in Rule 5(c)(3) Proceedings as to Michael Uziewe held on
                      11/9/2020. Government Notified of the Due Process Protection Act. Order to
                      follow. Defendant waives Identity Hearing. Commitment to Another District
                      Filed. Waiver filed. Detention Hearing. Government Motion for Detention filed.
                      Detention Order. Written Order to follow.(Tape #FTR Gold) (tcc) (Entered:
                      11/09/2020)
 11/09/2020   3       WAIVER of Rule 5 Identity Hearings by Michael Uziewe. (tcc) (Entered:
                      11/09/2020)
 11/09/2020   4       MOTION for Detention by USA as to Michael Uziewe. (tcc) (Entered:
                      11/09/2020)
 11/09/2020   5       ORDER of Detention Pending Trial as to Michael Uziewe (1). Signed by
                      Magistrate Judge Alan J. Baverman on 11/9/2020. (tcc) (Entered: 11/09/2020)
 11/09/2020   6       Notification of the Due Process Protection Act as to Michael Uziewe. (tcc)
                      (Entered: 11/09/2020)
 11/09/2020   7       COMMITMENT TO ANOTHER DISTRICT as to Michael Uziewe. Defendant
                      committed to District of USDC ED CA. Signed by Magistrate Judge Alan J.
                      Baverman on 11/9/2020. (tcc) cc: served by deputy clerk (Entered: 11/09/2020)
 11/09/2020           Magistrate Case Closed. Defendant Michael Uziewe terminated. (tcc) (Entered:
                      11/09/2020)
 11/09/2020           Transmittal of Rule 5(c)(3) Documents as to Michael Uziewe, sent to USDC ED
                      CA via InterDistrict Transfer email, with certified copy of Commitment Order
                      and docket sheet. (tcc) (Entered: 11/09/2020)



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